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                                              PRECEDENTIAL

              UNITED STATES COURT OF APPEALS
                   FOR THE THIRD CIRCUIT
                       _______________

                            No. 22-2806
                          _______________

                  UNITED STATES OF AMERICA,
                                Appellant

                                  v.

     UNITED STATES SUGAR CORPORATION; IMPERIAL
    SUGAR COMPANY; LOUIS DREYFUS COMPANY LLC;
             UNITED SUGARS CORPORATION
                    _______________

            On Appeal from the United States District Court
                       for the District of Delaware
                    (D.C. Civil No. 1:21-cv-01644)
             District Judge: Honorable Maryellen Noreika
                            _______________
                      Argued: January 18, 2023

            Before: AMBRO*, PORTER, and FREEMAN,
                        Circuit Judges.


   *
       Judge Ambro assumed senior status on February 6, 2023.
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                      (Filed: July 13, 2023)
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                    OPINION OF THE COURT
                        ______________

   PORTER, Circuit Judge.

           The government appeals the denial of its motion to
   permanently enjoin the acquisition of Imperial Sugar by United
   States Sugar Corporation. The District Court found that the
   government failed to identify the relevant product and
   geographic markets and thus failed to establish a prima facie
   case under Section 7 of the Clayton Act. 15 U.S.C. § 18. It
   concluded that the government overlooked the procompetitive
   effects of distributors in the market for refined sugar,
   erroneously lumped together heterogeneous wholesale
   customers, and defined the relevant geographic market without
   regard for the high mobility of sugar throughout the country.
   Because the District Court’s rejection of the government’s
   proposed product market is not clearly erroneous, we will
   affirm.

                                   I

          Georgia-based Imperial Sugar Company has been in
   financial distress for years. It went bankrupt in 2001 and
   suffered a costly accident at its plant in 2008, prompting its
   owners to put it up for sale. Purchased by the Louis Dreyfus
   Company, Imperial has since received from Louis Dreyfus
   only a subsistence level of investment to keep its operation safe
   and environmentally sound. Imperial’s internal reports
   describe it as an “import-based, price-uncompetitive sugar
   refinery” that is “structurally uncompetitive” and suffers from
   a shrinking customer base, losing roughly ten percent of its




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   customers from 2021 to 2022. For more than five years, Louis
   Dreyfus has been trying to sell it.

           Enter United States Sugar Corporation, a large Florida-
   based sugar refiner that agreed to purchase Imperial. The
   government contends that U.S. Sugar’s acquisition should be
   blocked because it would have anticompetitive effects in the
   market for refined sugar. The government alleges that the
   transaction would leave only two entities in control of 75% of
   refined sugar sales in the southeastern United States. It proffers
   an application of the hypothetical monopolist test (HMT) and
   argues that the results of that test demonstrate the validity of
   its proposed product and geographic markets.

          U.S. Sugar answers first that it does not even sell its own
   sugar but rather participates with three other producers in a
   Capper-Volstead agricultural cooperative, United Sugar, that
   markets and sells the firms’ output collectively but exercises
   no control over the quantities that its members produce.1 Even
   if operated at capacity, it argues, Imperial’s facility could
   produce only about seven percent of national output—an
   insufficient share either to invoke a per se presumption of
   anticompetitiveness or to merit an injunction under a rule-of-
   reason analysis. Second, U.S. Sugar argues that sugar
   distributors constitute a crucial competitive check on producer-
   refiners that would undermine any attempt to increase prices.
   This effect, it argues, goes unappreciated in the government’s
   HMT analysis and undermines the government’s product
   market definition. Finally, it argues, evidence of the high
   mobility of refined sugar throughout the country renders the

   1
     Capper-Volstead cooperatives are agricultural cooperatives
   exempted from certain antitrust scrutiny. See 7 U.S.C. §§ 291–
   92.




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   government’s proposed regional markets vacuous and
   unrepresentative.

           After an expedited trial, the District Court denied the
   government’s plea for an injunction. It determined the
   credibility of the expert witnesses and carefully weighed the
   evidence. As to product market definition, the Court concluded
   that U.S. Sugar was right to extoll the effects of sugar
   distributors, who account for approximately 25% of sales of
   refined sugar in the U.S. It rejected the government’s proposed
   product market, concluding that any proposed product market
   must include sales of refined sugar sold by distributors if it is
   to be relevant. Turning to the proposed geographic market, the
   Court recounted considerable evidence presented at trial of
   sugar’s high geographic mobility and the ease with which
   producers and distributors could avail themselves of arbitrage
   by selling to out-of-region buyers. It concluded that the
   government’s analysis failed to account for this mobility,
   making its proposed markets too narrow to be relevant. The
   government timely appealed.

                                  II

           The District Court had jurisdiction under 15 U.S.C. § 25
   (“district courts of the United States are invested with
   jurisdiction to prevent and restrain violations of [the Clayton]
   Act”). It entered final judgment on September 23, 2022. The
   government filed a notice of appeal on September 26, 2022.
   This Court has jurisdiction under 28 U.S.C. § 1291.

           On appeal from a Rule 52 ruling, we review “findings
   of fact for clear error” and “conclusions of law de novo.” See
   FTC v. Penn State Hershey Med. Ctr., 838 F.3d 327, 335 (3d




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   Cir. 2016) (“Hershey”).2 As for the specific issues on appeal,
   “the determination of a relevant market is composed of the
   articulation of a legal test which is then applied to the factual
   circumstances of each case.” Id. (quoting White & White, Inc.
   v. Am. Hosp. Supply Corp., 723 F.2d 495, 499 (6th Cir. 1983)).
   Thus, “while a district court’s conclusion concerning what
   constitutes the relevant market is subject to the clearly
   erroneous standard of review, the district court’s formulation
   of the market tests may be freely reviewed on appeal as a
   matter of law.” Worldwide Basketball & Sport Tours, Inc. v.
   Nat’l Collegiate Athletic Ass’n., 388 F.3d 955, 960 (6th Cir.
   2004). A court’s conclusion concerning what constitutes the
   relevant market is a finding of fact that is “clearly erroneous”
   only if it is “completely devoid of minimum evidentiary
   support displaying some hue of credibility or bears no rational
   relationship to the supportive evidentiary data.” Berg Chilling
   Sys., Inc. v. Hull Corp., 369 F.3d 745, 754 (3d Cir. 2004). “[S]o
   we review for clear error.” FTC v. Hackensack Meridian
   Health, Inc., 30 F.4th 160, 167 (3d Cir. 2022).3 However,

   2
     U.S. Sugar suggests, that, by arguing only in terms of plenary
   review, the government has forfeited a clear error challenge.
   But “[a] party cannot waive, concede, or abandon the
   applicable standard of review,” so we reject this contention.
   United States v. Escobar, 866 F.3d 333, 339 (5th Cir. 2017)
   (per curiam).
   3
     Though the government characterizes the District Court’s
   product market holding as “legal error” and urges us to review
   the question de novo, to do so would create inconsistency:
   market definition inquiries such as this rely heavily upon the
   testimony of expert witnesses who are prohibited from
   rendering legal opinions. M.S. ex rel. Hall v. Susquehanna
   Twp. Sch. Dist., 969 F.3d 120, 129 (3d Cir. 2020) (noting that




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   “where a district court applies an incomplete economic
   analysis or an erroneous economic theory to those facts that
   make up the relevant geographic market, it has committed legal
   error subject to plenary review.” Hershey, 838 F.3d at 336.

                                  III

   A.     The District Court did not clearly err in rejecting the
          government’s product market definition.

          1.     The relevant product market is the market for
                 refined sugar.

           A claim arising under the Clayton Act, § 7, is evaluated
   under a three-part burden-shifting framework. Hackensack, 30
   F.4th at 166. First, the government must establish a prima facie
   case that the merger is anticompetitive. Id. To do so, it must
   “propose the proper relevant market and . . . show that the
   effect of the merger in that market is likely to be
   anticompetitive.” Id. Second, the burden to produce evidence
   to rebut the government’s prima facie case shifts to the
   defendant. See, e.g., United States v. Baker Hughes Inc., 908
   F.2d 981, 982–83 (D.C. Cir. 1990). Third, “[i]f the defendant
   successfully rebuts the presumption, the burden of producing
   additional evidence of anticompetitive effect shifts to the
   government, and merges with the ultimate burden of
   persuasion, which remains with the government at all times.”
   Id. at 983.



   “an expert cannot testify to [a] legal conclusion”). Therefore,
   the history of Section 7 litigation and reliance upon expert
   witnesses necessitates an understanding of product market
   definition as a factual inquiry.




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           This appeal concerns only the first prong of the first part
    of that analysis: identification of the relevant market. The
    government argues that, in defining a product market under
    Section 7, the District Court clearly erred by treating
    distributors as separate sources of refined sugar capable of
    undercutting efforts by a hypothetical monopolist to restrict
    output and increase price.

           The government contends that the HMT, the test
    “commonly used in antitrust actions to define the relevant
    market,” FTC v. Sanford Health, 926 F.3d 959, 963 (8th Cir.
    2019), requires courts to adhere to a stratified model of the
    market in which refiners sell to distributors, which then sell to
    wholesalers, which then sell to retailers, which then sell to
    consumers. In this abstract, stratified model, a distributor
    would have no source of refined sugar beyond the refiners in
    its (properly defined) geographic market. Therefore, the
    government argues, a court cannot take cognizance of
    distributors or alternate sugar sources as potential checks on
    refiners’ market power.

            This case is somewhat atypical among product-market-
    definition disputes, as it is not a dispute about defining the
    product. Notably, in United States v. E.I. du Pont de Nemours
    & Co., the Supreme Court was pressed to answer whether
    DuPont’s patent on cellophane created a monopoly or whether
    the relevant product market should be more broadly conceived
    of as “flexible wrapping materials,” of which cellophane was
    just one kind. 351 U.S. at 396–400. Similarly, in Erie Sand &
    Gravel Co. v. FTC, we were asked to decide whether “lake
    sand” used to make concrete was its own product or whether
    sand from a pit or sand from a bank could fairly be included
    with it. 291 F.2d 279, 281 (3d Cir. 1961). These cases typify
    the standard product-market-definition inquiry.




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           Here, all are agreed: the product is refined sugar. The
    dispute is over defining the product market as either that for
    the sale of refined sugar or for the “production and sale” of
    refined sugar, Appellant’s Br. 2, the latter of which excludes
    parties who sell but do not produce—i.e., distributors and
    wholesalers. The government contends that a proper
    application of the HMT requires us to limit our focus to only
    those firms that both produce and sell refined sugar and to
    exclude sellers who do not themselves refine sugar. It reasons
    that even if, arguendo, distributors can bring sugar to market
    from other regions of the country or from overseas in response
    to higher local prices, all refined sugar must begin with a
    refiner, so under the HMT, distributors are customers, not
    suppliers, and should be treated as such under a proper
    application of the test. It therefore maintains that the District
    Court erred in considering distributors who could counteract
    monopolistic restrictions by releasing their own supplies.

            U.S. Sugar, in turn, citing our decision in Allen-Myland
    Inc. v. IBM Corp., 33 F.3d 194 (3d Cir. 1994), argues that
    where, as a matter of fact, independent distributors in this
    industry already are and will remain competitors,
    acknowledging them as such is entirely consistent with our
    case law. There, we addressed allegations against IBM of
    unlawful tying in violation of the Sherman Act. Id. at 200. In
    defining the relevant market, the question arose whether leases
    of computer mainframes competed with computer
    manufacturers’ sales to end users. Id. at 202. Reversing the
    district court, we held that

           to the extent that leasing companies deal in used, non-
           IBM mainframes that have not already been counted in
           the sales market, these machines belong in the relevant
           market for large-scale mainframe computers. Unlike




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           IBM, there is no allegation that the manufacturers of
           these computers possess the market power to control
           prices, much less that they would do so in concert with
           IBM. When these computers are placed in service by
           leasing companies, they provide an alternative that
           limits IBM’s power in the market.

    Id. at 203 (footnotes omitted).

           Allen-Myland thus makes clear that resellers may serve
    as competitive checks on a seller-manufacturer. The
    government offers a different interpretation. In its telling, the
    Allen-Myland Court “reversed because manufacturers’ market
    shares would already include new large-scale mainframe
    computers sold by manufacturers to leasing companies,” and
    to add the products in again when end-users leased them from
    leasing companies would lead to double-counting “because the
    leasing companies themselves ‘do nothing to increase the
    supply of new machines.’” Appellant’s Br. 26 (quoting Allen-
    Myland, 33 F.3d at 202) (cleaned up).

           While the government’s quoted language from the
    Allen-Myland opinion is accurate, it lacks context. The Allen-
    Myland Court did say that leasing companies themselves did
    “nothing to increase the supply of new machines” when the
    machines in question were IBM machines. 33 F.3d at 202. But
    “to the extent that leasing companies deal in used, non-IBM
    mainframes that have not already been counted in the sales
    market,” “they provide an alternative that limits IBM’s power
    in the market.” Id. at 203. So when the product is defined by
    its source, e.g., “IBM computers” or “U.S. Sugar refined
    sugar,” then aftermarket sales or leases of that product “do
    nothing to increase the supply” thereof. Id. at 202. But when
    an ostensible downstream party—a leasing company or




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    wholesaler—has alternative sources for the same kind of
    product, e.g., computers or refined sugar, and places them in
    the stream of commerce, they impose a competitive check
    upon that source’s power in the market. And this is more likely
    to be true the more homogeneous the product: customers
    generally place less value upon the question of who
    manufactured the product when the product is a commodity,
    like sugar, rather than a branded piece of technology, like a
    computer. See George Stigler, A Theory of Oligopoly, 72
    JOURN. POL. ECON. 44, 49 (1964) (“From the viewpoint of any
    one buyer . . . [t]he costs of shifting among suppliers will be
    smaller the more homogeneous the goods[.]”).

            The government’s focus on “production and sale” is a
    red herring. The proper product market definition here is the
    market for refined sugar, much as it was the market for
    “flexible packaging material” in E.I. du Pont, 351 U.S. at 400,
    or for concrete-grade sand in Erie Sand & Gravel, 291 F.2d at
    281. The District Court noted that the “Government introduced
    no evidence at trial that purchasers care whether their sugar
    supplier is a refiner producer, a marketing entity, a cooperative
    or a distributor.” J.A. 36, ¶ 85. So defining the product market
    to include production and sale is irrelevant to consumer
    welfare and a purely self-serving description by the
    government.

           2.     The District Court’s analysis, based in practical
                  indicia, was valid.

           There is some ambiguity regarding the extent to which
    the District Court relied upon HMT analysis in making its
    decision. It mentioned the HMT only once, in the section of its
    opinion analyzing the government’s proposed geographic
    market. In defining the product market, it instead focused on




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    the “practical indicia” of “industry or public recognition of the
    submarket as a separate economic entity, the product’s peculiar
    characteristics and uses, unique production facilities, distinct
    customers, distinct prices, sensitivity to price changes, and
    specialized vendors.” J.A. 46–47 (quoting Brown Shoe Co.,
    Inc. v. United States, 370 U.S. 294, 325 (1962)). And it
    properly defined its inquiry as one of interchangeability and
    cross-elasticity in order “to recognize where competition
    exists.” J.A. 47.

           The District Court did not err by considering facts on
    the ground rather than relying upon HMT analysis. Our
    precedent makes this clear. Cf. Hershey, 838 F.3d at 345 (“We
    are not suggesting that the hypothetical monopolist test is the
    only test that the district courts may use.”). The government
    cites no authority for its contrary view that “the hypothetical
    monopolist test . . . governs market definition.” Appellant’s Br.
    22 (emphasis added). The District Court permissibly
    considered the “highly factual issue” of cross-elasticity of
    demand and the “[s]pecial characteristics of the relevant
    industry [that] may influence market definition.” Tunis Bros.
    Co., Inc. v. Ford Motor Co., 952 F.2d 715, 723 (3d Cir. 1991).

            That factual inquiry was well-founded and not clearly
    erroneous. The District Court found that “[d]istributors have
    the ability to purchase large quantities of refined sugar from
    many different sources, including foreign competitors, and this
    allows distributors to price resales competitively.” J.A. 33, ¶
    79. It also found that “[d]istributors account for approximately
    25% of sales of refined sugar in the U.S.,” id. at 34, ¶ 80, and
    noted that “[a]t trial, there were many examples of customers
    purchasing large quantities of sugar from distributors,” id., ¶
    81, with distributors “compet[ing] for sales to wholesale




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    customers of all sizes, including large industrial customers,”
    J.A. 35, ¶ 83.

            It found that “distributors are the primary importers of
    refined [sugar] imports,” tending “to purchase the majority of
    foreign-produced refined sugar imports” in the United States,
    J.A. 33–34, ¶ 79. And U.S. Sugar’s expert witness, Dr. Hill,
    testified “that distributors buy from a variety of sources, which
    gives them independence and the ability to compete with
    refiners in the market.” Id. Based on sufficient evidence and
    weighing the testimony of the parties’ expert witnesses, the
    District Court thus rejected, in this industry, the government’s
    preferred rigid hierarchy of refiners, distributors, wholesalers,
    retailers, and consumers, with each only buying from the
    source above it.

            The District Court’s factual findings are extensive and
    carefully noted. It considered the government’s proposed
    market, the objections thereto, and other factors on which it
    was free to rely to inform its view of the situation. The
    government would prefer that the HMT be deemed to “govern”
    the field at Stage I and that its own construction of the HMT
    be accepted without scrutiny. The law does not require the
    District Court to do either, and its decision as to product-
    market definition evinces no clear error.

           3.     The District Court was not required to accept a
                  market encompassing “widely divergent
                  customers.”

           The government contends that the District Court
    committed “legal error” by “requiring” the government to
    “further subdivide the market and differentiate between refined
    sugar sales to industrial customers and refined sugar sales to




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    retail customers.” Appellant’s Br. 27 (cleaned up). It proposed
    a product market in which wholesale customers include
    industrial food and beverage manufacturers, retailers, food
    service companies, and distributors. J.A. 37, ¶ 87. The District
    Court found that, in advocating for this proposed market, the
    government’s expert failed to differentiate between refined
    sugar sales to industrial customers and those to retail customers
    and that he “made no attempt to consider whether industrial
    consumers have the same competitive alternatives as other
    customers.” Id.

            “Defining a relevant product market is . . . a factual
    question,” and the District Court treated it as such. Polypore
    Intern., Inc. v. FTC, 686 F.3d 1208, 1217 (11th Cir. 2012). It
    looked to the facts, considered expert witness testimony, made
    credibility determinations, and concluded that the government
    witness was less credible and his testimony less helpful than
    that of the defendant’s witness. This is not “a matter of law,”
    as the government styles it, but a matter of fact. Appellant’s Br.
    27; see SmithKline Corp. v. Eli Lilly & Co., 575 F.2d 1056,
    1062 (3d Cir. 1978).

            The government asserts that “the Supreme Court has
    repeatedly confirmed[] there is no legal requirement that
    plaintiffs divide a broadly defined market into submarkets.”
    Appellant’s Br. 27. Its references meant to support the
    argument are not on point. Appellant’s Br. 28 (citing Brown
    Shoe, 370 U.S. at 327; United States v. Phillipsburg Nat’l Bank
    & Tr. Co., 399 U.S. 350, 360 (1970); United States v. Greater
    Buffalo Press, Inc., 402 U.S. 549, 553 (1971); United States v.
    Cont’l Can Co., 378 U.S. 441, 457–58 (1964)). In Brown Shoe,
    the Court held that a district court was not “required to employ
    finer[] distinctions” or pursue “[f]urther division” of the
    market where such “division does not aid [the court] in




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    analyzing the effects of [a] merger.” 370 U.S. at 327. To say
    that finer distinctions are not “required” does not mean that
    they are prohibited. Id. The standard is what “aid[s]” a district
    court in analyzing the facts. Id. And the government’s other
    cases stand for the mere proposition that a court should not let
    the existence of submarkets persuade it to “disregard a broader
    line of commerce that has economic significance.”
    Phillipsburg Nat’l Bank, 399 U.S. at 360. Here, the District
    Court did not disregard the broader line of commerce in refined
    sugar; it simply determined that distinguishing between
    industrial and retail sales more accurately described the reality
    of the market.

           Contrary to the government’s portrayal, the District
    Court did not make any categorical statements about a need to
    always subdivide markets. It simply recognized that when
    defining a market, courts may draw distinctions as necessary
    to understand a merger’s effects on consumers. That factual
    determination was not clearly erroneous.

           To establish its prima facie case, the government must
    propose the proper relevant market, “includ[ing] both a product
    market and a geographic market.” Hackensack, 30 F.4th at 166.
    As it has failed to articulate a relevant product market, we do
    not consider its argument as to a proposed geographic market.

    B.     The District Court’s consideration of USDA responses
           as a remedy for antitrust harm was error, but it is not
           material.

          The District Court offered one further argument against
    the government’s case: that “even if U.S. Sugar’s acquisition
    of Imperial were likely to have any anticompetitive effects, the
    Court believes that the USDA has the ability to counteract




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    those effects” by “increas[ing] the amount of low- or no-duty
    sugar that can be imported into the U.S.” J.A. 63. “Doing so,”
    it reasoned, “would increase the available sugar for sale in the
    U.S., thereby bringing prices back down.” Id. In particular, the
    Court highlighted the USDA’s “discretionary ability to
    increase the amounts imported under the TRQ [tariff-rate
    quota] system and U.S.-Mexico Suspension Agreements in
    order to maintain reasonable prices.” Id.

            The government is correct to describe this line of
    reasoning as improper. “Repeals of the antitrust laws by
    implication from a regulatory statute are strongly disfavored,
    and have only been found in cases of plain repugnancy between
    the antitrust and regulatory provisions.” United States v. Phila.
    Nat’l Bank, 374 U.S. 321, 350 (1963) (citations omitted). A
    finding of implied repeal “can be justified only by a convincing
    showing of clear repugnancy between the antitrust laws” and
    an alternative “regulatory system.” United States v. Nat’l Ass’n
    of Sec. Dealers, 422 U.S. 694, 719 (1975). And in this case,
    there is no argument presented that any statutory provision
    immunizes the sugar industry against antitrust challenge. The
    government’s simultaneous efforts to keep sugar prices high
    through USDA policy and to lower them through antitrust suits
    may seem contradictory, but it is not unlawful for the
    government to pursue contradictory aims, and price supports
    do not create immunity from antitrust.

           That said, as the District Court’s reasoning on USDA
    price supports did not alter the outcome of its opinion,
    reversing it would not salvage the government’s case. The
    Court’s analysis of market definition stands unaffected by
    those portions of its opinion on USDA policy.

                            *      *       *




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            Defining a relevant market depends in equal parts upon
    defining the product market and the geographic market, and a
    failure to do either is dispositive. The District Court concluded
    that the government failed to define a relevant product market.
    Its analysis is not clearly erroneous. We will affirm.




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